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                        EXHIBIT K
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         II        Store   Mac     ,Pad    ,Phone     Watch      AirPods             TV & Home               Only on Apple   Accessories   Support   Q       L)


         App Store Preview


                                                      Open the Mac App Store to buy and download apps.


                                                                   SHEIN - Online Fashion GEl
                                                                   Trendy Clothing + Fashion
                                                                   ROADGET BUSINESS PTE. LTD.
                                                                   Designed for iPad
                                                                   #2 in Shopping
                                                                   ,r, ,r, ,r, ,r, 1" 4.7 • 834.SK Ratings
                                                                   Free




          iPad Screenshots




          Additional Screenshots                                                                                                                         V
          iPhone

https://apps.apple.com/us/app/shein-online-fashion/id878577184                                                                                                    1/4


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          Now introducing the SHEIN mobile app! Everything you love about our site, now at your fingertips. SHEIN is a fun, ultra-affordable online shopping platform
          featuring styles for women, men, kids, curve, plus over 20,000+ styles including dresses, tops, swimwear, shoes and accessories. Think of us as your one-stop
          destination for everything trendy! We'll keep you in the loop with push notifications, plus styling tips, livestreams, reviews and more to inspire you!

          Perks:
          - Get an extra 10% off on your first order
          - Free shipping on orders over $49 & free returns
          - Fun, easy shopping that's 100% secure
          - Browse by New Arrivals, Trends, Category, Best Sellers and more
          - Daily Flash Sales: Score up to 80% off countless styles
          - Get first access to sale alerts and promotional discounts
          - Now accepting PayPal and major Credit Cards
          - Style now, pay later! Choose Afterpay to pay in 4 interest-free payments.
          - 24/7 Customer Service and Live Chat available



          Contact us:
          URL: us.shein.com
          Facebook: www.facebook.com/sheinus/
          lnstagram: www.instagram.com/shein_us/
          Email: dispute@shein.com




          What's New                                                                                                                                         Version History

          Version 8.4.8
          Recent updates:

          1. We've fixed some issues and made performance improvements to provide you with a better experience.

          2. More surprises are waiting for you to explore on the SHEIN App!




          Ratings and Reviews                                                                                                                                        See All



          4.7out of 5                                                                                                                                        834.5K Ratings




            *****
            _keyy22, 03/09/2022                                     *****
                                                                    vinarris, 01/05/2021                                      *****
                                                                                                                              I • PicCollage!!, 08/13/2022

            I <3 shein!!                                            LEGIT                                                     SHEIN LITERALLY SAVED ME
            Personally as someone who is a senior in                100% legit site for fa shionable affordable               I am a fre shman in college and my parents
            high school and trying my hardest to save               clothing. I've been purchasing for the last 2             got divorced when I was little, so I was
            up for college while al so getting a better             years or more now with at least 20 + items                almost on my own to buy my own clothes
            more adult like wardrobe Shein has be more              each purchase and have never been         more            and self care products. I found SHEI N more




          App Privacy                                                                                                                                           See Details

          The developer, ROADGET BUSINESS PTE . LTD., indicated that the app's privacy practices may include handling of data as described below. For more
          information, see the developer 's privacy policy.


                                                                                           ,._,
                                                                                           1..-J
                                                                               Data Used to Track You
                                         The following data may be used to track you across apps and websites owned by other companies:

                                                                                    Bl Identifiers




                                                                                 Data Linked to You
                                                           The following data may be collected and linked to your identity:


https://apps.apple.com/us/app/shein-online-fashion/id878577184                                                                                                                 2/4


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             •     Purchases                                                                     iii Financial Info
             0      Contact Info                                                                 Bl Ident ifiers
             111   Usage Data




                                                                                     Data Not Linked to You
                                                           The following data may be collected but it is not linked to your identity:

             CD Search History                                                                   111   Usage Data

             0 Diagnostics

          Privacy practices may vary, for example, based on the features you use or your age. Learn More




          Information
          Seller
          ROADGET BUSINESS PTE. LTD.

          Size
          262.8 MB

          Category
          Shopping

          Compatibility
          iPhone
          Requires iOS 12.0 or later.

          iPad
          Requires iPadOS 12.0 or later.

          iPod touch
          Requires iOS 12.0 or later.

          Mac
          Requires macOS 11.0 or later and a Mac with Apple M1 chip or later.

          Languages
          English, Arabic, Czech, Dutch, French, German, Greek, Hebrew, Indonesian, Italian, Japanese, Korean, Polish, Portuguese, Russian, Spanish, Swedish, Thai,
          Traditional Chinese, Turkish, Vietnamese

          Age Rating
          12+
          Infrequent/Mild Sexual Content and Nudity
          Infrequent/Mild Profanity or Crude Humor

          Copyright
          © SHEIN

          Price
          Free




          Developer Website .71
          App Support .71
          Privacy Policy .71



          Supports
                    Wallet
                    Get all of your passes, tickets, cards, and more in one place.




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          Fashion Mall
          Shopping




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          command                      Story                       Shopping                      Shopping                    Fashion Boutique        Shopping
          Shopping                     Shopping                                                                              Shopping




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